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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          8:20-cv-01782-JVS-KES                                   Date   October 21, 2021
 Title             Frank Falat v. Rodney Cyril Sacks et al.


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Motion for Entry of Final
                        Judgment

       Before the Court is a motion for entry of final judgment filed by Individual
Defendants Rodney Cyril Sacks, Hilton Hiller Schlosberg, Thomas J. Kelly, Emelie C.
Tirre, Mark J. Hall, Kathleen E. Ciaramello, Gary P. Fayard, Jeanne P. Jackson, Steven
G. Pizula, Benjamin M. Polk, Sydney Selati, and Mark S. Vidergauz, and Nominal
Defendant Monster Beverage Corporation (collectively, “Defendants”). Mot. for Entry of
Final J., Dkt. No. 57. Plaintiff Frank Falat (“Falat”) opposed the motion. Opp’n, Dkt. No.
58. Defendants replied. Reply, Dkt. No. 59.

      On September 18, 2020, Plaintiff Frank Falat filed a Complaint against the
Defendants. Compl., Dkt. No. 1. On December 28, 2020, the Court entered a Scheduling
Order, which set the last day to amend the pleadings as August 30, 2021. Scheduling
Order, Dkt. No. 21. On April 8, 2021, the Court granted the Defendants’ motions to
dismiss the Complaint with leave to amend. Order re Mot. to Dismiss, Dkt. No. 45. On
August 30, 2021, the last day on which Falat could amend the Complaint, Falat filed an
Ex Parte Application to Continue Deadlines Set Forth in the Court’s Scheduling Order,
which the Court denied. Order re Ex Parte Appl., Dkt. No. 56. Falat did not file an
amended complaint by August 30, 2021.

      Contrary to Falat’s assertion, the Order granting the Defendants’ motions to
dismiss did not grant Falat an open-ended deadline to file an amended complaint. See
Order re Mot. to Dismiss. The Order did not modify the existing August 30, 2021
deadline to file an amended complaint. See id. In fact, in his Ex Parte Application to
Continue Deadlines Set Forth in the Court’s Scheduling Order, Falat moved to continue
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